            Case 17-33931 Document 45 Filed in TXSB on 10/11/17 Page 1 of 1



                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS


Chapter:        13
Case No:        1733931DRJ

In re:          ARICK RYAN RUSSELL



Account Number: 1518


                             WITHDRAWAL OF PROOF OF CLAIM


COMES NOW, Portfolio Recovery Associates, LLC by PRA Receivables Management, LLC
agent. Pursuant to the Federal Rule of Bankruptcy Procedure 3006, withdraws its proof(s) of
claim 8 filed on or about 10/11/2017 in the amount of $396.62 .

On this 10/11/2017.



By: /s/ Daquan Hatcher
    Daquan Hatcher, Bankruptcy Representative
    PRA Receivables Management, LLC.
         POB 41067
         Norfolk, VA 23541
         E-mail: Bankruptcy_Info@portfoliorecovery.com
